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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.

       Plaintiffs,

v.                                   CIVIL ACTION NO.: 1:17-cv-02989-AT

BRAD RAFFENSPERGER, ET AL.

       Defendants.



  MOTION TO QUASH SUBPOENAS AND FOR ATTORNEY’S FEES
      AND COSTS BY NONPARTY CATHLEEN A. LATHAM


      COMES NOW Cathleen Latham, a nonparty to this action, and files this

Motion to Quash Subpoenas and For Attorney’s Fees and Costs pursuant to

Rules 26 and 45 of the Federal Rules of Civil Procedure, showing this Court as

follows:


                 INTRODUCTION AND FACTUAL BACKGROUND


      Cathleen Latham is a nonparty witness in this case, which was filed

almost five years ago in 2017. On June 15, 2022, Plaintiffs issued nonparty

subpoenas to Ms. Latham for certain documents and her deposition. Around

July 12, 2022, Ms. Latham produced documents and communications in good
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faith to Plaintiffs pursuant to her subpoenas.              Through agreement of the

Parties, Ms. Latham’s deposition was set for August 8, 2022.

       Between the service of her original subpoenas in this case and the date

set for her deposition, Ms. Latham, who served as one of the presidential

elector nominees in the 2020 election, was informed by the Fulton County

District Attorney’s Office (DA’s Office) that she and her fellow electors had

suddenly and without explanation been converted from witnesses in that

investigation to “targets.” As such, when Ms. Latham sat for her deposition in

this case on August 8, 2022, she invoked her federal and state privileges not to

testify substantively on advice of her legal counsel. 1

       During the deposition, Plaintiffs asked Ms. Latham about an email

address that they had come across in the documents that she had produced to



1 Ms. Latham has committed no crime and has nothing to hide in either the Fulton County
investigation or in this case. Because she is an innocent person who is in danger of being
ensnared by ambiguous circumstances, however, her legal counsel has advised her to invoke
her federal and state constitutional and statutory privileges against self-incrimination, and
Ms. Latham has followed and will continue to follow her counsel’s advice. See, e.g.,
Grunewald v. United States, 353 U.S. 391, 421 (1957) (“[N]o implication of guilt"
can be drawn from an individual's invocation of her Fifth Amendment privilege
before the grand jury . . . .“Too many, even those who should be better advised, view
this privilege as a shelter for wrongdoers. They too readily assume that those who
invoke it are either guilty of crime or commit perjury in claiming the privilege.'”)
(quoting Ullmann v. United States, 350 U.S. 422, 426 (1956) (emphasis added));
Slochower v. Board of Higher Education, 350 U.S. 551, 557-558 (1956)) (“The privilege
serves to protect the innocent who otherwise might be ensnared by ambiguous
circumstances.") (emphasis added).




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them – magnolia64@protonmail.com. Upon checking her records, Ms. Latham

was able to (and did immediately) confirm that the person who held that email

address was Scott Hall, an individual about whom Plaintiffs had asked in some

of their subpoenas. Although Ms. Latham had previously searched her emails

and texts for Mr. Hall’s name, she realized in her deposition that she had

inadvertently neglected to connect this email address (which obviously does

not contain his name) with Mr. Hall and to search for the email address

specifically in responding to her nonparty subpoenas. She performed that

search on the spot, showing the Plaintiffs the communications that she had

with this email address. Ms. Latham also affirmed that she would pull each

such email or communication and provide them to her attorneys to then be

provided to Plaintiffs. That should have been the end of that.

       Rather than accept this obviously reasonable and good faith solution to

an inadvertent oversight by a nonparty witness or even, less reasonably, filing

a motion to compel with this Court to enforce the original subpoenas, Plaintiffs

instead have taken the outrageous, unnecessary, and unprecedented step of

purporting to subpoena Ms. Latham to produce her personal phone and her

personal electronic devices to be imaged by Plaintiffs. 2 A copy of this subpoena


2 As discussed herein, Ms. Latham’s phone and devices not only contain her personal
communications, financial information, health information, etc. that she is entitled to keep


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is attached hereto as Exhibit A.                  Plaintiffs have no basis for this

extraordinary, invasive, and extreme request. 3 This Court, therefore, should

quash their subpoenas and, consistent with the requirements of Rule 45, assess

Ms. Latham’s fees and expenses for filing this Motion against Plaintiffs.

                     ARGUMENT AND CITATION OF AUTHORITY

    I.     Plaintiffs Have Not And Cannot Meet Their Burden To
           Establish That Ms. Latham Has Any Relevant Information
           That She Has Not Provided.
         A party seeking to subpoena discovery from a nonparty under Fed. R.

Civ. P. 45 “must first show that its requests are relevant to its claims or

defenses, within the meaning of Federal Rule of Civil Procedure 26(b)(1).”

United States Willis v. SouthernCare, Inc., No. CV410-124, 2015 WL 5604367,

at *3 n.4 (S.D. Ga. Sept. 23, 2015).                “[U]nder the recent Amendments

to Rule 26(b), the traditionally liberal limits on discovery must be juxtaposed


private, but also contain significant information subject to the attorney client privilege, the
work product doctrine, and state and federal constitutional privileges. She is a nonparty
witness in this case that has been ongoing for more than five years without her involvement,
and she has provided Plaintiffs all of the non-privileged information that they have
requested. Even if she had additional relevant information, which she does not, it simply
could not be of such critical importance to justify this offensive attempt to invade her privacy
and her privileged communications. And Plaintiffs have not and cannot explain to Ms.
Latham or to the Court why they cannot obtain additional information about Mr. Hall (if they
purport to want or need it) from Mr. Hall himself.
3Plaintiffs’ attempt to subpoena Ms. Latham’s devices is so devoid of any basis and such an
extreme overreaction that it begs the question of their true motives in seeking to image Ms.
Latham’s devices. Under the circumstances, a reasonable person could suspect that
Plaintiffs’ goal is to circumvent Ms. Latham’s invocation of her Fifth Amendment privilege
and/or to invade her attorney-client communications for political or other improper purposes.


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against proportionality considerations in a given case and the Court's

obligation to determine, on a case-specific basis, the appropriate scope

of discovery.” In re Arby's Rest. Grp. Inc. Litig., No. 1:17-CV-0514-AT, 2018

WL 8666473, at *1 (N.D. Ga. Aug. 16, 2018) (internal citations omitted).

      Additionally, the proponent of a Rule 45 subpoena “must frame a

reasonable and limited directive that seeks only what is actually relevant and

least intrusive.” United States ex rel. Mohanty v. S. Georgia Rehab, Inc., No.

2:02-CV-71-WCO, 2005 WL 8157452, at *6 (N.D. Ga. Sept. 1, 2005) (emphasis

added).   Even if the subpoenaing party can successfully show relevance,

proportionality, and this required narrow tailoring (none of which are present

in this case), the Court must nonetheless limit discovery sought under Rule 45

when “the burden of compliance outweighs its likely benefit or relevance.” See

Pinehaven Plantation Properties, LLC v. Mountcastle Family LLC, Case No.

1:12-CV-62, 2013 WL 6734117, at *1 (M.D. Ga. Dec. 19, 2013). Importantly,

“[n]on-party status is a factor courts may consider when analyzing whether a

subpoena is unduly burdensome.” Id., at *2 (internal citations and quotations

omitted). “The burden on the non-party is particularly great when the party

issuing the subpoena seeks private information.” Id. (emphasis added).

      Without explanation or any showing as to relevant, discoverable, and

undisclosed information they expect to find or why they cannot obtain such

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hypothetical information from another source, Plaintiffs purport to force Ms.

Latham to submit her private cell phone and all of her personal electronic

devices for imaging so that they can rifle through her personal, confidential,

and privileged information unfettered.             In reality, Ms. Latham has no

undisclosed information relevant to Plaintiffs’ case. Plaintiffs, however, seek

to exploit Ms. Latham’s inadvertent oversight of Mr. Hall’s email address as

an excuse to go on an unbounded fishing expedition through Ms. Latham’s

private (and in many instances, privileged) communications and documents in

the naked hope that they may stumble upon some tidbit that might aid their

five-year-old case. This demand would be outrageous even if Ms. Latham were

a party in this litigation; the demand in the face of her status as a nonparty

witness in this civil matter is patently absurd, abusive, and violative of Rules

26 and 45. 4

        The ludicrousness of this demand is exacerbated by the fact that Ms.

Latham has already provided the documents and communications that she has




4Even  if the Government sought this information, it would be required to provide probable
cause to a neutral magistrate and obtain a search warrant to perform such an invasive search
and seizure. It would also be required to have a filter review team and process in place to
cull out private, irrelevant communications, as well as attorney client and other privileged
communications. Private parties must be held to much higher standards before they are ever
allowed to exercise police-like powers and invade the privacy and privileges of any citizen,
certainly a nonparty citizen.


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that are responsive to her nonparty subpoenas. She provided the overlooked

email address communications on the spot in her deposition and offered to

provide copies of those communications to Plaintiffs through her attorney. She

simply does not have any additional information to provide to Plaintiffs, and

they have not and cannot make any showing that she does. Even if this were

not the case, however, nothing would justify this unprecedented, heavy-handed

attempted intrusion into her private and privileged information and

communications.     Plaintiffs have articulated no relevant, discoverable

information at issue, and their demand to image Ms. Latham’s phone and

devices is exceedingly disproportionate to any alleged discovery need, even if

they could articulate one, which they cannot.

      What Ms. Latham does have in her private cell phone and personal

electronic devices are private documents and communications unrelated to

Plaintiffs’ claims (including financial and health information), communications

and documents that are privileged under the federal and state privileges

against self-incrimination (which are also not relevant to Plaintiffs’ claims),

communications that are subject to the attorney client privilege and work

product doctrine (which are also not discoverable or relevant to Plaintiffs’




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claims), 5 and communications that are privileged under FERPA (which are

also not relevant to Plaintiffs’ claims). 6 The significant and dangerous burden

of allowing Plaintiffs to violate Ms. Latham’s privacy and constitutional and

legal privileges through unfettered access to her private phone and devices

more than outweighs Plaintiffs’ baseless speculation that Ms. Latham has

discoverable and relevant information that she has not disclosed. The question

of proportionality here is not a close one.

       Other courts have refused to allow parties in litigation to image an

opposing party’s electronic devices even before Rule 26 was amended to add

the proportionality requirement, denouncing such requests as extraordinary.

See, e.g., Calyon v. Mizuho Securities USA, Inc., No. 07CIV02241RODF, 2007

WL 1468889 (S.D.N.Y. May 18, 2007) (denying party’s request to image

opposing party’s computer because the requesting party failed to show why it


5 As noted, Ms. Latham has been (mis)labeled as a target in the Fulton County District
Attorney’s investigation into the 2020 election. As such, her phone and other electronic
devices contain significant protected information, documents, and communications that she
has a federal and state constitutional privilege not to have disclosed or produced. Her phone
and devices also contain voluminous materials protected by the attorney client privilege and
work product doctrine in connection with the DA’s investigation and her status as a
whistleblower under the Georgia Whistleblower Protection Act (O.C.G.A. section 45-1-4(d)).
While allowing private parties to image the personal cell phones and devices of nonparty
witnesses is completely unjustifiable and disproportionate for even a regular person or
witness, the invasiveness and burden to Ms. Latham would be even more extreme under
these circumstances.
6As a public schoolteacher, Ms. Latham has educational information protected under FERPA
in her electronic devices.


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would be entitled to such “extraordinary” access); cf. Lifetouch Nat'l Sch.

Studios, Inc. v. Moss-Williams, No. C10-05297 RMW (HRL), 2013 WL

11235928, at *2 (N.D. Cal. Oct. 15, 2013) (adopting parties' protocol that

included stipulation that “[n]either [the requesting party]’s personnel nor

counsel will ever inspect or otherwise handle [the responding party]’s

computers”).      These principles apply with even greater force to nonparty

witnesses, particularly after the proportionality amendments to Rule 26.

         Because Plaintiffs’ have not satisfied and cannot satisfy their burden to

show that Ms. Latham has any relevant information that she has not produced,

because Plaintiffs’ request is plainly not a “reasonable and limited directive

that seeks only what is actually relevant and least intrusive,” S. Georgia Rehab,

Inc., 2005 WL 8157452, at *6, and because Plaintiffs’ demands are in no way

proportional to their alleged need, this Court should quash the subpoenas.

   II.      Plaintiffs Have Violated Their Mandatory Obligations Under
            Rules 26 and 45, And This Court Should Impose Ms. Latham’s
            Attorney’s Fees and Costs As Required by the Rule.
         When discovery is sought from a nonparty witness, Rule 45(d)(1)

requires that “a party or attorney responsible for issuing and serving a

subpoena must take reasonable steps to avoid imposing undue burden or

expense on a person subject to the subpoena.” (Emphasis added). The Rule

further requires that the Court “must enforce this duty and impose an


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appropriate sanction—which may include lost earnings and reasonable

attorney's fees—on a party or attorney who fails to comply.” Id. (emphasis

added).

      Causing a third-party to incur the expense of litigation by filing a motion

to quash can violate the mandate of Rule 45(c)(1). See, e.g., In re Birch

Commc'ns, Inc., No. 1:14-CV-03904-WSD, 2015 WL 2083502, at *4 (N.D. Ga.

Jan. 16, 2015), objections sustained in part and overruled in part sub nom. In

re Subpoena issued to Birch Commc'ns, Inc., No. 1:14-CV-3904-WSD, 2015 WL

2091735 (N.D. Ga. May 5, 2015) (citing Caretolive v. Von Eschenbach, 2008 WL

552431, at *3 (“[w]hen a subpoena should not have been issued, literally

everything done in response to it constitutes ‘undue burden or expense[,]’”)

(emphasis added); Thompson v. Carrier Corp., 2009 WL 3446391, at *2 (M.D.

Ga. October 21, 2009) (imposing sanctions in the amount of reasonable

attorney's fees incurred in bringing motion to quash two improperly

served Rule 45 subpoenas); Tidwell–Williams v. Northwest Georgia Health

System, 1998 WL 1674745, at *1 (N.D. Ga. November 19, 1998) (forcing a non-

party to defend against the untenable position of the party who issued

the Rule 45 subpoena constitutes an undue burden supporting the imposition

of sanctions)).




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       Here, Plaintiffs have not even attempted compliance with their

mandatory Rule 45 duty to “take reasonable steps to avoid imposing undue

burden or expense on a person subject to the subpoena” or their Rule 26

obligation to ensure that their discovery demands are proportional. Instead,

Plaintiffs have unreasonably and without justification skipped over all

reasonable steps here 7 and jumped straight into the extreme and untenable --

attempting to force Ms. Latham, a nonparty, to submit to the most invasive

discovery possible without any showing that she has any undisclosed

information relevant to their case (which she does not).

       In short, Plaintiffs’ subpoena demands are facially extreme and

disproportionate, and there is no reasonable possibility that they could have

believed otherwise when they issued these subpoenas. In addition to quashing

the subpoena, this Court should require, consistent with the mandates of Rule

45, Plaintiffs to pay Ms. Latham’s attorney’s fees and costs in filing this Motion

in light of their utter failure to perform their mandatory responsibilities under

the Rules.




7As noted, Ms. Latham has already shown Plaintiffs’ counsel the Scott Hall emails at issue
and has offered to provide copies of them as well. As such, Plaintiffs already have access to
the information that they are allegedly seeking. Additionally, Plaintiffs have not (and cannot
explain) why they cannot seek whatever information about Mr. Hall that they believe to be
relevant from Mr. Hall himself or from other witnesses.


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                                 CONCLUSION

      For the reasons set forth herein, Ms. Latham requests that this Court

quash the subpoenas and that it assess the fees and costs of responding to these

facially unreasonable and improper subpoenas to Plaintiffs.



Dated: August 14, 2022              Respectfully submitted,
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      RULE 7.1 CERTIFICATE OF COMPLIANCE WITH L.R. 5.1

     I certify that the foregoing document was prepared using 13-point

Century Schoolbook font in compliance with Local Rule 5.1 (C)(3).



                                   /s/ Holly A. Pierson
                                   Holly A. Pierson
                                   Georgia Bar No. 579655




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                        CERTIFICATE OF SERVICE

      I certify that today I filed the foregoing MOTION TO QUASH

SUBPOENAS AND FOR ATTORNEY’S FEES AND COSTS BY NONPARTY

CATHLEEN LATHAM via the Court’s CM/ECF system, which automatically

serves all counsel of record.



Dated: August 14, 2022

                                   /s/ Holly A. Pierson
                                   Holly A. Pierson
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